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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOHN T. PICKERING-GEORGE,
                               Plaintiff,
                      -against-
GAZIVODA MANAGEMENT LLC; CALVIN
SEECHARM; A. GAZIVODA                                          22-CV-8006 (LTS)
MANAGEMENT PROPERTY; DREAM
REALTY CORP.; BRONX TORT UNIT;                                 ORDER OF DISMISSAL
BRONX COUNTY SHERIFF’S                                         UNDER 28 U.S.C. § 1651
OFFICE;OFFICE OF THE ATTORNEY
GENERAL; EILEEN A. RAKOWER; U.S.
ATTORNEYS OFFICE; BRONX PRO
GROUP LLC,
                               Defendants.

LAURA TAYLOR SWAIN, Chief United States District Judge:

       By order dated August 25, 2008, Plaintiff was barred from filing any new action in forma

pauperis (IFP) without first obtaining from the Court leave to file. 1 See Pickering-George v. City

of New York Bronx Cnty., No. 08-CV-5112 (KMW) (S.D.N.Y. Aug. 25, 2008), app. dismissed,

No. 08-5355-cv (2d Cir. May 1, 2009).

       In this new complaint, Plaintiff names as Defendants Gazivoda Management LLC,

Calvin Seecharm, A. Gazivoda Management Property, Dream Realty Corporation Management,

Office of the Bronx District Attorney, the “Bronx Tort Unit,” Bronx County Sheriff’s Office,

Office of the New York State Attorney General, New York Supreme Court Justice Eileen A.

Rakower, the United States Attorney’s Office for the Southern District of New York, the “Bronx

Pro Group,” “New Management Jeniffer,” and “Belongings Property.” (ECF 1, 15-19.) Plaintiff

invokes the Court’s federal question jurisdiction, 28 U.S.C. § 1331, and also references federal


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           Plaintiff attaches to the complaint a list of his prior 36 cases. (ECF 1 at 46-48.)
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criminal statutes and the Court’s supplemental jurisdiction, 28 U.S.C. § 1367. (Id. at 19.)

       The following facts are drawn from the complaint. From 2009 through 2011, Plaintiff

“became very ill (bodily organs),” resulting from “non desirable hazardous condition” in his

Bronx apartment. (Id. at 21.) Plaintiff’s landlord engaged in “lockouts, utility shutoff, and tenant

belongings.” (Id. at 23.) There are references to, and attachments from, an Article 78 proceeding

that Plaintiff apparently filed in state court in 2012. (Id. at 23, 36-38.) Plaintiff was homeless

from 2011 through 2022. The complaint also contains multiple lists with such headings as,

“Preliminary proceedings of the complaint relief, Fed. Rules of Crim. Proc.,” “Communications

against ‘landlord management of property wiretapping,” and “stored communication act.” (Id. at

13, 21.)

       Plaintiff filed this new pro se complaint, along with a motion for leave to file. (ECF 1, 2.)

In that motion, the sole reason Plaintiff gives for why leave to file should be granted is that

Defendants will not be prejudiced if his motion for leave to file is granted. (ECF 2.)

       Having thoroughly reviewed the complaint, the Court finds that it is not a departure from

Plaintiff’s pattern of frivolous litigation. There are no allegations in the pleading that suggest that

Plaintiff can state any viable claims falling within this Court’s jurisdiction against the named

Defendants. The Court therefore denies Plaintiff’s request for leave to file this new action IFP,

and dismisses the action without prejudice.

                                          CONCLUSION

       The Court denies Plaintiff’s motion for leave to file this new action IFP, and the Clerk of

Court is directed to terminate it. (ECF 2.) The action is dismissed without prejudice.

       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this order

would not be taken in good faith and therefore IFP status is denied for the purpose of an appeal.

See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).
                                                  2
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     The Clerk of Court is directed to enter judgment in this case.

SO ORDERED.

Dated:    October 24, 2022
          New York, New York

                                                    /s/ Laura Taylor Swain
                                                          LAURA TAYLOR SWAIN
                                                      Chief United States District Judge




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